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UNEFED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 15-19833-BKC-RAM

Chapter 13

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do | Merino and
esa Merino,

wee)

Debtors/
MOTION TO ALLOW PARLY PAYOFF OF UNDER MEDIAN CHAPTER 13 CASE
Now comes the Debtors, Eduardo Merino and Teresa Merino, by their counsel, and

gy

moves this Court for Harly Payoff of Under Median Chapter 13 case and in support therco?
submits the following:

t. Debtors fled for relief under Chapter 13 in this case and their Chapter 13 Plan was
previously confirmed.

2. The Debtors’ case is an under median case and they have already met the 36 month
commitment period.
WHEREFORE, Debtors respectfully pray that the Court issue an order

i, Allowing the Debtors to pay off their Under Median Chapter 13 case carly.
2. Such further relief consistent with this request for relief.
Respectfully submitted,

REYES & CALAS-JOHNSON, PLA

A ttorneys f for the Debtors

782 N.W. 429 Avenue, Ste. 447

Miami, FL. 33126

Tel: G05) 476-1900

By IS
Mary Reyes

CERTIFICATE OF SERVICE

[HEREBY CERTIFY that a true copy of the foregoing was served upon all parties on
attached list, this 6" day of January, 2020.

__fS/
Mary Reyes

 
Label Matrix for local, nobiciag
113¢=1

Case 15-19835-RAM

Southern District of Florida
Miami,

Mon Jan 6 13:11:38 EST 2020
3Pa, Inc

1851 West Oak Pkwy

Marietta, GA M62-2285

&

 
 

American Express Bank FSB
a/foBecket & Lee LP

POB 3001

Malvern, PA LS385~-0701

Bank of Anerica, NA

Bx Dept Mall Step CA 6-1$-01-23
400 National Way

Simi V rllsy, CA $3068-6414

Bk Of Amer
450 American St
Simi Valley, CA 93065628

aye

(p} BANK OF AMERICA
PO BOX 982238
Ht PASO TX 79998-2238

{p)CABITAL ONE
PO BOX 30285
SALE LAKE CITY UT 94130-0295

Cavalry Portfolio Serv
BOB 27288
Tempe, AZ 85285-7288

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Fort Worth, TX 76101-2003

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Carmax Auto Finance
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Kennesaw, GA 30144-5897

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C.P.§ LLC a/a/oHSBC Bank

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Valhalla, NY 10595~232

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Fe Worth, TX 76101-2003

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c/o Samantha Carr

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ee

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501 5 Calhoun St., Bm 104
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h idland Credit Management
ape. 8870
Los Angeles, CA 99084-0001

National Credit Adjusters, LLCPurchaser of G
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Attn: Michael Swangon

Hutchinson, BS 67504-3023

(p)NATIONSTAR MORTGAGE LLC
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DALLAS TX 75261-9096

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Page 4 of 5

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c/oSharmata Adana & Vou Allmen PC
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140 @, Flagler sb,
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Midland Credit Management, Inc as agent for
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Attn. Michael Swanson

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Norfolk, VA 23502-4952

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Case 15-19833-RAM Doc 78 Filed 01/06/20 Page5of5

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POR 2798046

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Department of the Treasury
Internal Revenue Service
Ogden, UT 84201

s {p) above has been substituted for the following ents
2 Notic ce of Address filed pursuant to 11 0.8.0. 342{2) ¢

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Capital Gne Bank Usa Citibank, HA
15000 Capital One Dr Payment Center
Richmond, VA 23238 4740 dist St

Urbandale, IA 50323

Natlonstar Mortgage, LLC

C/O Steven 6. Powrozek
Attention; Bankruptey Department
PO Box 619096

Dallas, TX 75261-9741

a following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

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}Midland Credit Management, Inc.

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({d)Cavalry Portfolio Serv lujFst Premie
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Yempe, AZ 85285-7288

(d)Nationstar End of Label Matrix
Po Box 199111 Wailable recipients 94
allas, TX 75235 Bypassed recipients 5
Total 99
